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 1                                                               Honorable John C. Coughenour
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10
                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
11                                      AT SEATTLE

12                                                )   Case No. 20-cr-146-JCC
     UNITED STATES OF AMERICA,                    )
13                                                )
                    Plaintiff,                    )
14                                                )   SENTENCING MEMORANDUM OF
            vs.                                   )   DEFENDANT AND MOTION FOR
15                                                )   SENTENCING DEPARTURE
     LIONEL GONZALEZ-TORRES,                      )
16                                                )   Sentencing: October 26, 2021 @ 9:00am
                    Defendant.                    )
17                                                )
18

19          Lionel Gonzalez-Torres is a 25-year-old young man suffering from mental health

20   issues brought about by very poor parenting, abandonment, and living with an older brother
21   who was involved in drug dealing (see, United States v. Edgar Gonzalez, case no. 16-cr-
22
     287-JLR). In order to support himself and his younger brother, Ernesto (currently serving in
23
     the United States Marine Corp), Lionel did what his older brother did – dealt drugs. And
24

25



       Sentencing Memorandum of Defendant - 1                      SCOTT J. ENGELHARD
                                                                  1700 Seventh Avenue, #2100
                                                                   Seattle, Washington 98101
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     perhaps at least partly as a cry for help, he continued to deal drugs even after his first arrest
 1

 2   – on June 20, 2019, at the age of 23 years-old. [Charges were filed in September, 2020.]

 3          Lionel has no prior convictions. He has been on pre-trial release for over 13 months,
 4
     working full time with an excellent job in construction. He has been evaluated and
 5
     counseled by Lonnie Kaman, gaining invaluable insights into the nature and causes of his
 6
     mental health issues. [Two reports from Ms. Kaman have been filed separately, under seal.]
 7
     Letters from his Aunt, Cindy Rivera, and his younger brother Ernesto, describe in vivid
 8

 9   detail Lionel’s struggles, his true character, and the recent strides he’s made towards finding

10   himself. [Letters of Support attached hereto as Exhibit A.]
11
            Lionel’s growth and maturation is also reflected in the U.S. Pre-Trial Services
12
     petition, filed on February 17, 2021 (Dkt. No. 55), to remove the GPS monitoring condition
13
     from his Appearance Bond (Dkt. No. 54). The trust of U.S. Pre-Trial Services that is
14

15   reflected by this petition, and Lionel’s model behavior on pre-trial release, reflects his

16   personal growth and maturation since his offense conduct.
17

18
     HISTORY AND CHARACTERISTICS OF LIONEL GONZALEZ-TORRES
19
            Mr. Gonzalez-Torres grew up in a dysfunctional family that moved frequently. His
20
     mother moved back to Mexico when Lionel was 14-years-old, leaving Lionel and his
21

22   siblings to be “raised” intermittently by his father and other relatives. During his mid-

23   teens, Lionel’s father was taken into INS custody and deported to Mexico.
24
            Despite the lack of parenting, Lionel managed to graduate from high school in
25
     Nebraska. After graduation, however, Lionel moved too western Washington to live with

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     his older brother, Edgar; and he lived with Edgar until Edgar’s drug dealing arrest in
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 2   November, 2016.

 3          As documented in the letters from Lionel’s brother Ernesto and his Aunt Cindy
 4
     Rivera, as well as the Evaluation of Lonnie Kaman, the scars of his difficult childhood
 5
     and adolescence manifested as depression, social anxiety disorder, and a retreat to (and
 6
     addiction to) video games. And he gave into the temptation of following his older
 7
     brother’s footsteps by supporting himself and his younger brother through drug dealing.
 8

 9          Despite his poor choice to get involved in drug dealing, the letters of support from

10   his brother Ernesto, and his Aunt Cindy Rivera, show that Lionel is a deeply caring,
11
     hardworking, thoughtful and honest young man. These positive characteristics are
12
     reflected in Lionel helping guide his brother Ernesto to join the U.S. Marine Corp. The
13
     letters from both Ernesto and his Aunt Cindy vividly describe how Lionel helped his
14

15   brother find a better path through service to our country.

16          Since charges were filed in this case, Lionel has been fully employed with an
17   excellent job in construction. Additionally, he has eagerly participated in a mental health
18
     evaluation, explored the root causes of his poor decision making; and he asked to
19
     continue counseling with Lonnie Kaman as long as possible. In both her initial and her
20
     supplemental reports, Ms. Kaman concludes that, particularly with the benefit of mental
21

22   health counseling, Lionel is a very low risk to reoffend.

23          In short, all of Lionel’s actions since being charged in this case strongly
24
     demonstrated a personal commitment to better himself and avoid re-offense, as well as
25



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     the strength of character to get counseling and to work on his social skills that will allow
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 2   him to continue to grow and mature as a person – and to realize his full potential.

 3

 4
     SENTENCING FACTORS AND RECOMMENDATION
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            The defense requests that this Court consider the following discussion of relevant
 6
     18 U.S.C. 3553(a) sentencing factors to impose punishment that is “sufficient but no
 7
     greater than necessary” based on the effectuate the following purposes of sentencing:
 8

 9      1. Just Punishment and Deterrence.

10          Sub-sections (a)(2)(A) and (B) direct the Court to consider the seriousness of the
11
     offense and the need to deter similar crimes in the future. At the same time, however,
12
     sub-section (a)(6) directs the Court to “avoid unwarranted sentencing disparities among
13
     defendants . . . found guilty of similar conduct.”
14

15          Arguably, the nature and extent of Mr. Gonzalez-Torres drug dealing warrants

16   incarceration as punishment for his misconduct. However, we ask that this Court consider
17   that if Mr. Gonzalez-Torres had developed a drug addiction, in addition to his other
18
     mental health problems, he would have been an excellent candidate for the DREAM
19
     program; and if admitted into that program would have avoided incarceration. Ironically,
20
     it is the strength of Lionel’s character to avoid drug usage and addiction, that means he is
21

22   not eligible for a treatment program alternative to incarceration.

23      2. Protect Public from Defendant.
24
            Sub-section (b)(2)(C) directs the Court to consider whether imprisonment is
25
     necessary to protect the public from re-offense by the defendant.

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            As discussed above, Mr. Gonzalez-Torres is a low risk to reoffend.
 1

 2      3. Provide for Needs of Defendant.

 3          Sub-section (b)(1)(d) directs the Court to consider what sentence best meets the
 4
     future, rehabilitative needs of the defendant – “needed educational or vocational training,
 5
     or other correctional treatment.”
 6
            Lionel Gonzalez-Torres’ most important needs are treatment for his social anxiety
 7
     disorder and for full employment. Incarceration will not address his needs, and will bring
 8

 9   him into contact with individuals who may return to drug dealing after release.

10   RECOMMENDATION
11
            Although in many ways Mr. Gonzalez-Torres and society as a whole may be best
12
     served by a sentence of probation, we recognize that the quantity of the drugs involved is
13
     substantial, and that his decision to continue drug dealing even after his first arrest
14

15   (although largely a cry for help) arguably warrant significant punishment. Accordingly,

16   we ask this Court to depart/vary downward and impose a sentence of 24 months
17   incarceration.
18
            RESPECTFULLY SUBMITTED this 19th day of October, 2021,
19

20
                                                _s/ Scott J. Engelhard_______________
                                                SCOTT J. ENGELHARD
21                                              WSBA #13963
                                                Attorney for Defendant
22

23

24

25



       Sentencing Memorandum of Defendant - 5                       SCOTT J. ENGELHARD
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